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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

KATIE L. BURCHAM, as Personal
Representative of the Estate of Jane
L. Mattson,                                           4:11CV3190

                 Plaintiff,
                                                      JUDGMENT
vs.

NORTH CENTRAL
TRANSPORTATION, INC., a North
Dakota corporation, DEBBIE J.
SOLLENBERGER, an individual, and
KENT D. KINCANON, an individual,

                 Defendants.

      This matter is before the Court on the parties' joint stipulation for
dismissal (filing 47). The parties have agreed to dismiss this case with
prejudice, each to bear its own costs. Accordingly,

      IT IS ORDERED:

      1.    The parties' joint stipulation for dismissal (filing 47) is
            granted; and

      2.    The case is dismissed, with prejudice, each party to bear its
            own costs.

      Dated this 6th day of September, 2012.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
